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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

KAVARIAN ROGERS,                                       )
                                                       )
               Plaintiff,                              )
                                                       )
               v.                                      )       No. 24 C 3739
                                                       )
                                                       )       Magistrate Judge M. David Weisman
THOMAS DART, Sheriff of Cook County, and               )
COOK COUNTY, ILLINOIS,                                 )
                                                       )
               Defendants.                             )


                            MEMORANDUM OPINION AND ORDER

       For the reasons stated below, Plaintiff’s motion for sanctions pursuant to Rule 37(b)(2)(A)
regarding Topics 2 and 3 of the Rule 30(b)(6) notice [103] is denied.

                                            Background

        In September 2024, Plaintiff served on Cook County a Rule 30(b)(6) notice seeking
testimony on several topics, including: Topic 1, the receipt of federal financial assistance for
programs, services, and/or activities at the Cook County Department of Corrections between
March 7, 1988 and August 1, 1992; Topic 2, the receipt of federal financial assistance for the Cook
County Department of Capital Planning and Policy between March 7, 1988 and August 1, 1992;
and Topic 3, the receipt of federal financial assistance for the Cook County Department of
Facilities Management between March 7, 1988 and August 1, 1992. On 2/19/25, the Court ordered
Cook County to produce designees responsive to Topics 2 and 3. Plaintiff argues that Cook
County’s designee for Topic 2, Eric Davis, was not properly prepared and that Cook County did
not produce any designee for Topic 3 and seeks sanctions under Rule 37(b)(2)(A).

        Before addressing the substance of Plaintiff’s motion, the Court notes at the outset that
while Plaintiff’s reply brief is entitled, “Plaintiff’s Reply to Motion for Sanctions, Dkts. 103 and
105,” (Reply, Dkt. # 115), it addresses only Plaintiff’s Rule 37(b)(2)(A) motion [103], which seeks
relief for alleged improper preparation and presentation of Rule 30(b)(6) witnesses. Plaintiff’s
motion for sanctions pursuant to Rule 11 [105], which contends that Defendants provided an
improper answer in Plaintiff’s complaint, is not discussed. Accordingly, the Court assumes for
purposes of this motion that the reply brief was filed only in support of Plaintiff’s motion for relief
under Rule 37 [103]. Further regarding the reply, Plaintiff raises for the first time the issue of
whether Division 9 was constructed after March 7, 1988. Because “arguments made for the first
time in a reply brief are waived,” Smith v. Merit Sys. Prot. Bd., No. 24-2058, 2025 WL 1000002,
at *3 (7th Cir. Apr. 3, 2025), the Court does not address any Rule 30(b)(6) testimony regarding

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when Cook County Jail was constructed. Finally, as to the reply, it seeks additional relief not
requested by the opening motion. Specifically, Plaintiff states in the final paragraph of his opening
brief:

               14.     Since defendant Cook County did not produce any witness
                       for Topic 3 and the designee for Topic 2 was not prepared,
                       plaintiff seeks sanctions in the form that defendants will not
                       contest receipt of federal financial assistance for the benefit
                       of the Department of Capital Planning and Policy and the
                       Department of Facilities Management from March 7, 1988
                       [to] August 1, 1992.

(Pl.’s Mot. Sanctions, Dkt. # 103, ¶ 14.) At the end of his reply brief, Plaintiff states:

               Perhaps more important than the discovery misconduct itself, is the
               need to resolve foundational factual issues in this case.
               Accordingly, plaintiff respectfully requests that the Court order
               defendants to respond to each of the following statements and
               indicate whether they are disputed:

               1. Construction of Division 9 commenced after March 7, 1988;
               2. From March 7, 1988 to August 1, 1992, the Department of
               Corrections received federal financial assistance for programs,
               services, and/or activities;
               3. From March 7, 1988 to August 1, 1992, the Department of
               Facilities Management received federal financial assistance; and
               4. From March 7, 1988 to August 1, 1992, the Department of
               Capital Planning and Policy received federal financial assistance.

               If defendants dispute any statement, plaintiff requests that the Court
               direct defendants to provide specific references to the affidavits,
               parts of the record, and other supporting materials relied upon and,
               if necessary, permit plaintiff to conduct reasonable follow-up
               discovery.

(Pl.’s Reply, Dkt. # 115, at 15.) As previously indicated, the Court will not address any relief
associated with construction. Setting that aside, Plaintiff initially asks that Defendants not be
allowed to contest that they received federal funding during the relevant period. Then he asks that
Defendants be directed to respond to three statements, and if the statement is disputed, to provide
evidentiary support so Plaintiff can conduct follow-up discovery. The altered request for relief is
not only improper procedurally, but confusing as it is not tied to any purported discovery violation.
Did Plaintiff serve requests to admit regarding numbers 2-4? Did Defendants answer them?1 To



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 Based on the Court’s focused involvement on the discovery issues raised in this motion, we
believe the answer to both issues is “yes,” but Plaintiff does not set out this information and
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the extent Plaintiff seeks to tie the requested relief to the purported Rule 30(b)(6) violation, for the
reasons explained below, that aspect of Plaintiff’s motion is denied.

         Ultimately, the varying requests for relief need not be ruled on, as the Court is denying
Plaintiff’s motion. Nevertheless, the Court notes that it has spent a significant amount of time
sifting through Plaintiff’s briefs, attempting to impose order and logic, and the Court is still hard
pressed to ascertain what, if any, direct relief it could provide even if the Court granted Plaintiff’s
motion.

                                              Analysis

        On April 17, 2025, Cook County produced Eric Davis to address Topic 2, the receipt of
federal financial assistance for the Cook County Department of Capital Planning and Policy
between March 7, 1988 and August 1, 1992. According to Plaintiff, Mr. Davis testified that he
only received the deposition notice and list of topics on March 26, 2025; the Bureau of Finance
maintains records to which he does not have access and he took no steps to contact the Bureau of
Finance to investigate the topic after receipt of the notice; he did not speak with anyone from Cook
County government to prepare for the deposition and spent approximately 30 minutes reviewing
materials on the 26th floor of his office building in a storage center; and he was not authorized to
access certain Cook County documents needed to answer the topic because they were stored in a
system to which he did not have permission or access. (Pl.’s Mot. Sanctions, Dkt. # 103, at 3-4.)
Plaintiff argues that Mr. Davis was not prepared for the deposition and sanctions are appropriate.
Specifically, Plaintiff asks that Defendants not be permitted to contest the receipt of federal
financial assistance for the benefit of the Cook County Department of Capital Planning and Policy
between March 7, 1988 and August 1, 1992.

         Defendants’ response generally notes “the inherent difficulty of identifying designees with
first[]hand knowledge regarding events from nearly 40 years ago,” (Defs.’ Resp., Dkt. # 110, at 2)
– a point that Defendants state was communicated to Plaintiff’s counsel. Regarding the sufficiency
of Mr. Davis’ testimony, Defendants point to his statements that Cook County retains no financial
documents from 1988–1992 to demonstrate receipt of federal funding for CCDOC; the relevant
financial mainframe systems were decommissioned, rendering those records inaccessible; he
conducted a good-faith search through archived financial records and budget materials, which
produced no responsive information; and confirming the 10-year document retention policy. (Id.
at 4.)

        A party “has a duty to make a good faith, conscientious effort to designate appropriate
persons and to prepare them to testify fully and non-evasively about the subjects identified in a
Rule 30(b)(6) notice.” Zeikos Inv. v. Walgreen Co., No. 23 C 303, 2024 WL 4836071, at *1 (N.D.
Ill. Nov. 20, 2024) (citation, quotation marks and italics omitted). “The failure to produce an
educated Rule 30(b)(6) designee is tantamount to a failure to appear and warrants the imposition
of sanctions under Rule 37(d), including reasonable expenses (as well as transcript costs) incurred
in taking a new deposition.” Id. (citation and quotation marks omitted). But Rule 30(b)(6) also


attendant arguments in his brief, and the Court’s role is not to dig through the record and make
arguments for a party.
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requires only that a “corporate witness testify about information known or reasonably available to
the organization.” Fed. Rule Civ. P 30(b)(6).

        As Defendants note, Mr. Davis indicated that he conducted an inquiry into the location of
the information sought, but due to both the decommissioning of the mainframe and the lengthy
passage of time, he was unable to find financial documentation for federal funding from 1988 to
1992. He further testified that he was unable to confirm external references to federal funding and
defense counsel has reiterated this position, noting that his client “would really prefer to have
[financial] records that went back that far.” (6/4/25 Tr., Dkt. # 114, at 11.) Moreover, on May 23,
2025, Cook County produced Cook County Comptroller Syril Thomas as the designee for Topic
1, which is not technically at issue in this motion. Notably, however, Defendants acknowledge
that Mr. Thomas’ testimony also provided certain answers regarding Topics 2 and 3. For example,
Defendants state in their response:

               In his deposition, Mr. Thomas confirmed that the Cook County
               Comptroller’s Office maintains financial records for multiple
               departments, including those at issue in Topics 2 and 3. He testified:
               “Yes, so our office does maintain records for other departments,
               including Facilities Management and Capital Planning. We are the
               central financial repository for many countywide departments, even
               if they operate with independent budgets.” (See Exhibit B -Thomas
               Dep. at pg. 25:9–17.) This testimony establishes that the
               Comptroller’s Office serves as the central financial repository for
               Facilities Management and Capital Planning, and thus, any absence
               of financial records or federal funding documentation for the 1988–
               1992 period in the Comptroller’s Office necessarily applies to those
               departments as well. Accordingly, Mr. Thomas’s testimony satisfies
               Defendants’ obligation to present organizational knowledge on
               these topics to the extent reasonably available.

               ...

               Here, Thomas confirmed that he prepared for the deposition and
               reviewed the Rule 30(b)(6) notice. (Thomas Dep. at 6:3–5; 7:20–
               24.) He testified that he conducted a diligent search for responsive
               records but explained that the financial system covering the period
               from 1988 to 1992 had been decommissioned, and all related hard
               copy documents had been destroyed pursuant to the County’s 10-
               year retention policy. (Id. at 8:1–24; 9:1–21; 12:3–24.) Thomas
               further explained that no current systems or records exist that would
               allow the County to confirm the receipt or expenditure of federal
               funds during the relevant time frame. (Id. at 13:1–13; 39:5–24;
               40:1–13; 41:1–6.) He also testified that he met with undersigned
               counsel on multiple occasions, reviewed numerous budget
               documents and exhibits, and ultimately testified that—based on the
               limited information available—he could not confirm or dispute

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               specific historical records. (Id. at 17:1–23; 29:5–24; 30:1–24; 36:1–
               7; 37:10–24.) His testimony reflects a consistent, good-faith effort
               to comply with Rule 30(b)(6), notwithstanding his inability to recall
               the precise names of every document reviewed during his
               preparation before his deposition.

(Defs.’ Resp., Dkt. # 110, at 3-4.)

        In the instant case, Plaintiff’s request for documents demonstrating that Cook County
received federal funding during the relevant period has been percolating for months. Based on
several discussions with the parties in open court and on Defendants’ response to the instant
motion, the Court finds that defense counsel has made a concerted, good-faith effort to locate
sources for the information Plaintiff seeks and to prepare and present witnesses to testify regarding
that information (or lack of it, based on documents or files having been destroyed or unable to be
found). As noted above, Rule 30(b)(6) requires only that a witness testify as to information
“known or reasonably available” to the organization. Defendants’ witnesses testified as to what is
reasonably available to Cook County, and it is bound by those answers. Because the Court can
find no basis on which to conclude that Cook County did not comply with its obligations under
Rule 37(b), Plaintiff’s motion for Rule 37(b) sanctions is denied.2

        The Court acknowledges Plaintiff’s counsel’s frustration with his inability to pin down a
definitive answer to his question, but these types of hurdles are not uncommon in federal litigation.
Given the in-depth analysis in Plaintiff’s reply brief of the relevant outside sources that could
support an inference that Cook County received federal funding from 1988-1992, Plaintiff is well
on his way to either establishing that fact at summary judgment or at least creating a genuine issue
of material fact on the matter. Given the importance of the factual issues that Plaintiff is diligently
pursuing, if Plaintiff wishes to pursue very limited discovery to establish an evidentiary foundation
for these sources, the Court will entertain such a request, if it is timely made.


Date: July 10, 2025


                                                          M. David Weisman
                                                          United States Magistrate Judge




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  Plaintiff also raises alleged improper objections by defense counsel at the Rule 30(b)(6)
depositions; however, because Plaintiff does not seek any relief for the objections and does not
discuss them in his reply, the Court does not address them.
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